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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                      PIKEVILLE

 UNITED STATES OF AMERICA,                       )
                                                 )
       Plaintiff,                                )
                                                 )
 v.                                              )           No. 7:22-CR-16-REW-EBA
                                                 )
 AARON TYLER WELCH, and                          )
 SAMANTHA NICHOLE DANIELS,                       )                      ORDER
                                                 )
       Defendants.                               )
                                                 )
                                                 )
                                        *** *** *** ***

       Defendant Aaron Tyler Welch moves to continue trial, currently set for December 6, 2022.

See DE 26 (Motion). As grounds, he indicates that the parties need additional time to negotiate

toward an agreement and/or, if need be, prepare for trial. See id. Co-defendant Samantha Nichole

Daniels and the United States both responded without objection. See DE 27 (Daniels’s Response),

DE 27-1 (Daniels’s Waiver), DE 29 (United States’s Response). The motion is ripe for review.

       The Speedy Trial Act provides that a criminal trial “shall commence within seventy days

from the filing date (and making public) of the . . . indictment, or from the date the defendant has

appeared before a judicial officer of the court in which such charge is pending, whichever date last

occurs.” 18 U.S.C. § 3161(c)(1). However, the Court shall exclude certain “periods of delay . . . in

computing the time within which the trial of any such offense must commence[.]” Id. § 3161(h);

see generally United States v. Brown, 819 F.3d 800, 809 (6th Cir. 2016). This includes “delay

resulting from a continuance granted by any judge on his own motion or at the request of the

defendant or his counsel or at the request of the attorney for the Government,” provided that the




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judge finds “that the ends of justice served by taking such action outweigh the best interest of the

public and the defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A).

       Under the one-clock rule, such a finding applies to all defendants joined together in one

action. See United States v. Cope, 312 F.3d 757, 776 (6th Cir. 2002) (“[When] multiple defendants

are charged together and no severance has been granted, one speedy trial clock governs.”); see

also United States v. Sobh, 571 F.3d 600, 602 (6th Cir. 2009) (construing § 3161(h)(6) to “mean[]

that when multiple defendants are charged together, and no severance has been granted, one speedy

trial clock governs”); id. (“[T]he excludable delay of one defendant is also excluded for his

codefendants.”).

       On September 29, 2022, the Court arraigned Welch and Daniels, commencing the Speedy

Trial Act (STA) clock. See DE 15 (Minute Entry); Sobh, 571 F.3d at 603 (finding that the STA

clock begins to run when the last co-defendant is arraigned); United States v. Richmond, 735 F.2d

208, 211 (6th Cir. 1984) (“In calculating the seventy-day limit, the day of the arraignment is

excluded.”). Due to intermittent stoppages for motion practice, thirty-seven days passed before

Welch stopped the STA clock on November 17, 2022, by filing a motion to continue trial. See DE

26 (Motion to Continue); see also 18 U.S.C. § 3161(h)(1)(D). Therefore, as of the day of this

Order, thirty-three days remain on Defendants’ STA clock.

       When considering whether to grant a continuance, the Court must weigh, among other

factors, whether failing to grant the continuance would “result in a miscarriage of justice” or “deny

counsel for the defendant or the attorney for the Government the reasonable time necessary for

effective preparation, taking into account the exercise of due diligence.” 18 U.S.C.

§ 3161(h)(7)(B)(i),(iv). As grounds, Welch’s counsel cites the need for more time to negotiate an

agreement with the government and, in the case that the agreement does not fructify, prepare for



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trial. See DE 26 at 1. No party objects to the request; in fact, co-defendant Daniels submitted an

express waiver of her speedy trial right. The Court thus finds, per § 3161(h)(7)(A), that the ends

of justice served by granting the sought continuance outweigh the best interests of the defendants

and the public in a speedier trial. This decision does not rest on any impermissible § 3161(h)(7)(C)

grounds.

   The Court thus ORDERS as follows:

   1. The Court GRANTS DE 26 and CONTINUES the jury trial to February 7, 2023,

       at 8:30 a.m. (counsel and defendant shall appear by 8:00 a.m.) in Pikeville, Kentucky;

   2. The Court DECLARES the time between December 15, 2022, and February 7, 2023,

       excludable pursuant to 18 U.S.C. § 3161(h)(7)(A) and per the STA findings in this Order;

   3. The trial-tethered deadlines in the Court’s Pretrial and Discovery Order (DE 16) shall

       become relative to this new trial date, as applicable; and

   4. The Court FINDS this trial schedule STA compliant, per § 3161(h)(7) and the above

       analysis. If there is an objection to the speedy trial analysis, the objecting party shall file a

       motion within 10 (ten) days of this Order.

       This the 23rd day of November, 2022.




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